                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA, and the
STATE OF WISCONSIN, ex rel. Dr. CLARK
SEARLE,

                       Plaintiff,

v.                                                            Civil Action No. 14-C-0969

AGNESIAN HEALTHCARE, INC., and
FOND DU LAC REGIONAL CLINIC, S.C.,

                       Defendants.


                                    NOTICE OF SETTLEMENT



         This Notice is submitted by Plaintiff/Relator Dr. Clark Searle with the permission of

Defendants Agnesian HealthCare, Inc. and Fond du Lac Regional Clinic, S.C., to inform the

Court that the captioned matter has been settled, subject to executing final settlement documents,

including appropriate releases. Specifically, the parties agreed to a settlement of the matter in

mediation and have executed a term sheet, including a non-admission of liability provision,

payment of alleged damages to the United States, and payment of attorneys’ fees and costs to

Relator’s counsel. The parties have notified and are working with the United States Department

of Justice for final approval of the settlement agreement, as well as a stipulation of dismissal, and

to resolve the Relator’s share of the settlement payment.

       We understand and request that, as a result of this Notice and subject to Court action, this

case will be administratively closed, pending further filings by the parties involving any

unresolved matters and/or dismissal.



          Case 2:14-cv-00969-PP Filed 07/26/19 Page 1 of 2 Document 69
       Should the Court so request, counsel are available for a Status Conference with the Court.

Respectfully submitted,

/s/ Mary C. Flanner
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                                               2

          Case 2:14-cv-00969-PP Filed 07/26/19 Page 2 of 2 Document 69
